     Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 1 of 17



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


JAIME PIERO COLE,                            §
                                             §
               Petitioner                    §
                                             §
               v.                            §       CIVIL ACTION NO. 4:17-cv-940
                                             §
LORIE DAVIS,                                 §       THIS IS A CAPITAL CASE
Director, Texas Department of                §
Criminal Justice, Correctional               §
Institutions Division,                       §
                                             §
            Respondent.                      §
____________________________________

    PETITIONER’S MOTION FOR STAY AND ABEYANCE OF HABEAS CORPUS
         PROCEEDINGS PENDING EXHAUSTION OF STATE REMEDIES

       Petitioner, Jaime Piero Cole, pursuant to the procedure approved in Rhines v. Weber, 544

U.S. 269 (2005), requests that the Court stay and hold in abeyance his federal habeas proceedings

to permit him, through undersigned counsel, to present his unexhausted claims to the state courts.

                                       INTRODUCTION

       In his Amended Petition for Habeas Corpus Relief (ECF Doc. 30), Petitioner sets forth

several meritorious claims that could and should have been raised in state post-conviction

proceedings. Those claims, which are listed below, remain unexhausted:

       •   Claim III: Trial counsel were ineffective for failing to adequately investigate, develop,
           and present evidence of exposure to neurotoxins and brain damage.

       •   Claim IV: Trial counsel were ineffective for failing to develop and present reliable
           evidence that Petitioner would not be a future danger to society

       •   Claim VI: Trial counsel were ineffective for failing to object to the court’s statement
           to the venire members that if Mr. Cole was sentenced to death, his case would
           automatically be reviewed.
       Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 2 of 17



         At this stage of litigation – where Petitioner has filed this motion immediately following

the filing of his amended petition for habeas corpus relief – a stay under Rhines is proper to allow

Petitioner to exhaust these claims in state court. Rhines instructs that if there is some equitable

reason for a petitioner’s failure to exhaust a non-frivolous claim and there is some conceivable

way of exhausting the claim in state court, federal courts should respect the power of state courts

to pass on the merits of that claim first by staying federal proceedings. 544 U.S. at 277-78.

         Rhines stays are routine practice in federal courts in Texas. After Martinez v. Ryan, 566

U.S. 1 (2012), 1 Rhines stays have taken on special importance. The Fifth Circuit has stated that

such stays are a proper way for district courts to handle post-Martinez petitions raising claims that

are unexhausted due to state habeas counsel’s performance. See, e.g., Trevino v. Stephens, 740

F.3d 378, 378 (5th Cir. 2014) (“If the Petitioner requests it, the district court may in its discretion

stay the federal proceeding and permit the Petitioner to present his [unexhausted trial counsel

ineffectiveness] claim in state court.”).

                                            ARGUMENT

    I.      A STAY OF THESE FEDERAL HABEAS PROCEEDINGS IS WARRANTED
            TO ALLOW PETITIONER TO EXHAUST HIS CLAIMS IN STATE COURT.

         A Rhines stay is appropriate where (1) there is good cause for the failure to exhaust the

claims; (2) the claims are not plainly meritless; and (3) there is no indication that the failure to

exhaust was for purposes of delay. Rhines, 544 U.S. at 277. Petitioner satisfies all three

prerequisites for a stay.




   1
     In Martinez, the Supreme Court held that “[i]nadequate assistance of counsel at initial-
review collateral proceedings may establish cause for a prisoner’s procedural default of a claim
of ineffective assistance at trial.” 566 U.S. at 9.

                                                  2
     Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 3 of 17



        First, the denial of competent state habeas counsel provides good cause for Petitioner’s

failure to exhaust the claims. Second, Petitioner’s presentation of his unexhausted claims to the

state court will not be plainly meritless because, in the wake of Trevino v. Thaler, 569 U.S. 413,

429 (2013), which held Martinez applies in Texas, the Texas Court of Criminal Appeals (CCA)

has indicated a willingness to entertain such claims if the failure to raise those claims in the initial

state habeas petition was due to the ineffectiveness of initial state post-conviction counsel. Third,

Petitioner’s failure to exhaust was not for purposes of delay. He has filed the instant motion

immediately following the filing of an Amended Habeas Petition in this Court. Finally, a Rhines

stay would serve a broader federalism purpose by permitting the state courts to have the first

opportunity to rule on his claims.

        Granting a Rhines stay here would be consistent with the practice of federal district courts

in Texas. See, e.g., Alvarez v. Thaler, No. 4:09-cv-03040 (S.D. Tex. June 6, 2013); Brewer v.

Davis, No. 2:15-cv-50, 2018 WL 4585357 (N.D. Tex. Sept. 25, 2018); Wardrip v. Stephens, No.

3:12-cv-00247, 2013 U.S. Dist. LEXIS 55471 (N.D. Tex. Apr. 22, 2014); Sparks v. Stephens, No.

3:12-cv-00469, 2014 WL 113583 (N.D. Tex. Jan 13, 2014);. And the state of Texas itself has

endorsed the granting of Rhines stays. See Trevino, 569 U.S. at 429 (“Texas submits that its courts

should be permitted, in the first instance, to decide the merits of Trevino’s ineffective-assistance-

of-trial-counsel claim.”). This Court should likewise grant a stay in Mr. Cole’s case, and allow

Mr. Cole, through counsel, to exhaust his unexhausted claims in state court. See Harbison v. Bell,

556 U.S. 180, 190 n.7 (2009) (noting that “a district court may determine on a case-by-case basis

that it is appropriate for federal counsel to exhaust a claim in the course of her federal habeas

representation”).




                                                   3
       Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 4 of 17



         A.     Petitioner Has Good Cause for Failing to Exhaust.

         This Court determines whether “there was good cause for the petitioner’s failure to exhaust

his claims first in state court.” Rhines, 544 U.S. at 277; see Neville v. Dretke, 423 F.3d 477, 479

(5th Cir. 2005). The Fifth Circuit has instructed that courts conduct the inquiry in an “equitable

sense.” Ruiz v. Quarterman, 504 F.3d 523, 529 n. 17 (5th Cir. 2007); see, e.g., Lopez v. Stephens,

No. B-15-144, 2016 WL 4126014, at *3 (S.D. Tex. Apr. 25, 2016).

         The standard for “good cause” under Rhines is a lower standard than what is required to

show cause to excuse procedural default. Id. Showing good cause under Rhines merely requires

a “reasonable excuse, supported by evidence to justify a petitioner’s failure to exhaust . . . .” Blake

v. Baker, 745 F.3d 977, 982 (9th Cir. 2014) (citing Pace v. DiGiugliemo, 544 U.S. 408, 416

(2005)); see also Lopez, 2016 WL 4126014, at *4 (“Petitioners show good cause when they

provide a reasonable excuse external to their efforts to comply with the statute of limitations and

one that cannot be rationally placed onto them.”). As the district court in Lopez explained, “good

cause for a stay and abeyance should not require an extraordinary or unreasonable showing.”

Lopez, supra. Courts have recognized that “good cause” can arise from evidence of ineffective

assistance of state habeas counsel, Brady 2 violations, and “any external objective factor that cannot

fairly be attributable to [a petitioner.]” Doe v. Jones, 762 F.3d 1174, 1182 (10th Cir. 2014)

(citations and quotation omitted).

         Allegations of state habeas counsel’s ineffectiveness, as in Mr. Cole’s case, have sufficed

for numerous courts to find “good cause.” See, e.g., Brewer, 2018 WL 4585357, at *3-4 (granting

a Rhines stay after Trevino so that Petitioner could develop his ineffective assistance of counsel




   2
       Brady v. Maryland, 373 U.S. 83 (1963).

                                                  4
     Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 5 of 17



claim in state court that was not raised by initial state post-conviction counsel); Wardrip, 2014

U.S. Dist. LEXIS 55471, at *__ (granting stay after Trevino to provide state court first opportunity

to consider whether state habeas counsel was ineffective and whether that ineffectiveness justified

review of unexhausted claim); Sparks, 2014 WL 113583, at *3 (same); Blake, 745 F.3d at 983

(finding good cause where state post-conviction counsel performed deficiently); see also Williams

v. Thaler, No. 09-cv-04165, Dkt. No.. 14 (S.D. Tex. Apr. 13, 2010) (good cause “where state

habeas counsel failed to present a potentially viable claim for relief”); Garza v. Thaler, No. 09-cv-

00528, Dkt. No. 17 (W.D. Tex. Feb 18, 2010) (good cause where petitioner has “complain[ed] that

he was unable to fully exhaust available state habeas remedies on his currently unexhausted federal

habeas claims, i.e., petitioner’s new ineffective assistance claims, due to the gross incompetence

of his original state habeas counsel”).

       Good cause for a Rhines stay requires only the showing of sufficient evidence of a

reasonable excuse for the failure to exhaust. Ruiz, 504 F.3d at 529, n.17; Blake, 745 F.3d at 982.

This is a much lower standard than the cause required to excuse procedural default. See Canales

v. Stephens, 765 F.3d 551, 567-68 (5th Cir. 2014) (explaining that cause to excuse procedural

default requires proof that habeas counsel at initial-review collateral proceeding was deficient as

defined by Strickland v. Washington, 466 U.S. 668 (1984)).

       Here, state habeas counsel fell short of their statutory and professional duties with regard

to three unexhausted claims. State habeas counsel must, but failed to, make an expeditious and

thorough investigation of all possible avenues for relief. Article 11.071 § 3(a) of the Texas Code

of Criminal Procedure requires counsel to “investigate expeditiously, before and after the appellate

record is filed in the court of criminal appeals, the factual and legal grounds for the filing of an

application for a writ of habeas corpus.” Tex. Code Crim. Proc. art 11.071 § 3(a). Additionally,


                                                 5
     Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 6 of 17



the ABA Guidelines mandate that “[a]t every stage of the proceedings counsel has a duty to

investigate the case thoroughly.” ABA Guidelines for the Appointment and Performance of

counsel in Death Penalty Cases, Guideline 10.7 (2003); see also id., Guideline 10.15.1(e)(4)

(requiring post-conviction counsel to “continue an aggressive investigation of the case”). The

State Bar of Texas’s Guidelines and Standards for Texas Capital Counsel, adopted in 2006, contain

the same requirements. See Guidelines and Standards for Texas Capital Counsel, 12.2(B) (State

Bar of Tex. 2006).

       Here, state habeas counsel unreasonably limited their investigation and thus did not

conduct an objectively reasonable investigation that would have revealed several meritorious

claims of trial counsel’s ineffectiveness, one of which was apparent from the trial transcript alone.

See Am. Pet., Claims III, IV, VI; see also Hinton v. Alabama, 134 S. Ct. 1081, 1088 (2014)

(“[S]trategic choices made after less than complete investigation are reasonable precisely to the

extent that reasonable professional judgments support the limitations on investigation . . . .”)

(citations and quotations omitted).

       With respect to Claim III in the Amended Petition, state habeas counsel failed to conduct

a reasonable investigation regarding Mr. Cole’s exposure to neurotoxins and brain damage. See

Am. Pet. at 80-84 (Claim III); Declaration of Robert Romig at ¶ 5 (explaining his office hired a

specific neuropsychologist because he “was cheap and would save the office money” and later

stopped using that neuropsychologist “because of concerns about his thoroughness”); Declaration

of Sam Woodburn-Henry at ¶6 (explaining the “only reason” they “did not hire a toxicologist is

because the office did not want to spend money on an expert on toxicology without any other

evidence of brain dysfunction”).




                                                 6
       Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 7 of 17



        As detailed in Mr. Cole’s Amended Petition, state habeas counsel hired a

neuropsychologist but was unaware of what work that neuropsychologist had done. Am. Pet. at

80-83. 3 State habeas counsel was not aware that the neuropsychologist failed to score his tests,

and had they been aware of that fact, they would have “instructed him to score his tests.” Romig

Dec. at ¶ 6. State habeas counsel admits that if that testing indicated Mr. Cole suffered from frontal

lobe impairment, they would have hired a toxicologist to review Mr. Cole’s exposure to

neurotoxins. Romig Dec. at ¶ 7. But state habeas counsel was in no position to make such a choice

because they were unaware that their neuropsychologist did not score his tests. This was

unreasonable. Mr. Cole therefore has good cause (i.e., “a reasonable excuse”) for his failure to

exhaust Claim III – state habeas counsel’s admittedly ineffective investigation. 4

        Likewise, as it relates to Claim IV, state habeas counsel failed to investigate and present

evidence that trial counsel was ineffective for failing to present evidence of Mr. Cole’s

individualized likelihood of future dangerousness. State habeas counsel admits that there was “no

strategic reason as to why we did not consult with an expert on the issue of Mr. Cole’s future

danger.” Romig Dec. at ¶ 9. Instead, the decision to forgo a future danger investigation was made

simply to save their office money. Id.; see Woodburn-Henry Dec. at ¶ 7. State habeas counsel’s

decision to forego an avenue of relief based on their desire to save the office money, without

conducting any investigation into the merits of the issue, is inherently unreasonable. See Hinton,



   3
     Trial counsel hired a neuropsychologist, but failed to ask that neuropsychologist to conduct
neuropsychological testing. Instead, they only asked him to conduct psychological testing. Am.
Pet. at 72-73.
   4
    Had they conducted such an investigation (or instructed their expert to score the tests), state
habeas counsel would have learned that Mr. Cole does indeed suffer from frontal lobe
impairment, and that Mr. Cole’s childhood exposure to harmful neurotoxins was capable of
causing such brain damage. Am. Pet. 73-79.

                                                  7
     Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 8 of 17



supra. State habeas counsel’s failure to conduct any investigation on this issue, at a minimum,

constitutes good cause for a stay.

       Claim VI alleges ineffectiveness of trial counsel for failing to object to an obvious violation

of based on Caldwell. v. Mississippi, 472 U.S. 320, 328-29 (1985). State habeas counsel had no

reason not to challenge counsel’s ineffectiveness in failing to raise this claim at trial. See Romig

Dec. at ¶ 8 (“[I]f the court or Mr. Cole’s trial counsel made an error during voir dire and we did

not raise that error in our post-conviction petition, we would have had no strategic reason for

failing to do so.”); Woodburn-Henry Dec. at ¶ 8 (same). At minimum, counsel’s ineffectiveness

in failing to raise this claim constitutes good cause for a stay.

       B.      Permitting Mr. Cole to Return to State Court Is Not Plainly Meritless.

       Petitioner’s claims and request for a stay are not “plainly meritless.” See Rhines, 544 U.S.

at 270. In the Fifth Circuit, a case is “plainly meritless” only if the court can certainly conclude

that the claims are “now procedurally barred . . . in state court.” Neville, 423 F.3d at 480; accord

Williams v. Thaler, 602 F.3d 291, 309 (5th Cir. 2010); Haynes v. Quarterman, 526 F.3d 189, 197

(5th Cir. 2008). Unless it is “entirely clear” that a state court will apply a procedural bar, “the

State”—not this Court—“should be allowed to make the procedural, vel non, determination.”

Wilder v. Cockrell, 274 F.3d 255, 262 (5th Cir. 2001).

       Under state court procedures, there remain viable routes to properly present Mr. Cole’s

unexhausted claims, and this Court should not cut off his ability to present those claims unless it

is absolutely certain the state courts would not permit exhaustion of the claims.




                                                   8
      Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 9 of 17



                 1.     The CCA may permit review of Mr. Cole’s unexhausted claims under
                        Section 5, Article 11.071, in light of state habeas counsel’s
                        performance.

         Under Section 5, Article 11.071, 5 Mr. Cole may show that he was denied competent

counsel during his initial state habeas proceedings, and therefore his newly-raised claims were not

previously available to him.

         Although the CCA previously foreclosed the ability to raise this type of ground for a

successor in Ex parte Graves, 70 S.W.3d 103, 117 (Tex. Crim. App. 2002), the CCA has

announced its intent to revisit Graves in the appropriate case. In Graves, the court held that an

applicant was not permitted to bring a successive petition under Section 5 alleging state habeas

counsel’s ineffectiveness as a gateway to raising a procedurally defaulted claim. Id. at 117. The

court refused to interpret Article 11.071’s “competent counsel” guarantee, § 2(a), as providing



  5
      Section 5 provides in pertinent part:

  (a) If a subsequent application for a writ of habeas corpus is filed after filing an initial
application, a court may not consider the merits of or grant relief based on the subsequent
application unless the application contains sufficient specific facts establishing that:

   (1) the current claims and issues have not been and could not have been presented
previously in a timely initial application or in a previously considered application filed
under this article or Article 11.07 because the factual or legal basis for the claim was
unavailable on the date the applicant filed the previous application;

  (2) by a preponderance of the evidence, but for a violation of the United States
Constitution no rational juror could have found the applicant guilty beyond a reasonable
doubt; or

   (3) by clear and convincing evidence, but for a violation of the United States
Constitution no rational juror would have answered in the state's favor one or more of the
special issues that were submitted to the jury in the applicant's trial under Article 37.071,
37.0711, or 37.072.
   Tex. Code Crim. Proc. art. 11.071, § 5(a).



                                                  9
    Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 10 of 17



applicants an enforceable right to effective assistance in their initial habeas proceedings. Id. at

114. The court further maintained that such a claim was not cognizable as a newly available legal

basis under the successor provision, Section 5. Id. at 117.

       The CCA has since expressed its dissatisfaction with Graves and indicated a willingness

to revisit and overturn the decision.

       In Ex parte Ruiz, every participating member of the court indicated that state habeas

counsel’s incompetence provided “good cause” to revisit Graves. No. WR-27,328-03, 2016 WL

6609721, at *17–18 (Tex. Crim. App. Nov. 9, 2016) (Richardson, J., joined by Keller, P.J., and

Meyers, Johnson, Keasler, and Newell, JJ .); id. at *18 (Johnson, J., concurring); id. at *22 (Alcala,

J., dissenting). But the Ruiz court concluded that—for reasons unique to Mr. Ruiz’s case—it no

longer had the opportunity to revisit Graves in that case. See id. at *17–18. Ruiz confirms that, in

an appropriate case, the CCA will revisit its holding in Graves and review the merits of a

subsequent application raising claims that were not previously raised because of state habeas

counsel’s ineffectiveness.

       In addition, members of the CCA have elsewhere written that review of a claim that was

defaulted due to state habeas counsel’s ineffectiveness may be appropriate in a future case. See

Ex parte Alvarez, 468 S.W.3d 543, 548-49 (Tex. Crim. App. 2015) (Yeary, J., concurring) (urging

the court to “revisit the holdings of Graves” in light of “recent developments in federal habeas

procedure, as well as . . . the rationale underlying those new developments.”); cf. Ex parte Medina,

No. WR–41,274–05, 2017 WL 690960, at *9 (Tex. Crim. App. Jan. 25, 2017) (Newell, J.,

concurring, joined by Keller, P.J., Yeary & Walker, JJ.) (“Assuming that Medina’s arguments

concerning the advisability of revisiting Ex parte Graves in light of Martinez and Trevino are

persuasive, Medina cannot show that they apply in this case.”).


                                                 10
      Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 11 of 17



        The Court should not assume that Petitioner’s case is futile just because, prior to Trevino,

Texas generally prohibited the filing of successive habeas applications. Cf. Neville, 423 F.3d at

480 (finding no abuse of discretion in denial of “plainly meritless” stay, where petitioner’s claim

was procedurally defaulted and there was no indication of a change in procedural default doctrine).

Given Mr. Cole’s credible allegations of state habeas counsel’s failures, his case has a strong

chance of obtaining merits review under Article 11.071, Section 5.

                2.      If this Court harbors any doubt about novel state law matters, a stay
                        is warranted.

        Unless it is “entirely clear” that the state court will apply a procedural bar, “the State should

be allowed to make the procedural, vel non, determination.” Wilder, 274 F.3d at 262 (holding that

a claim not previously raised in state court should not be treated as procedurally defaulted because

it was not “entirely clear” that Texas’s subsequent-application bar would prohibit consideration of

the claim). 6 As other courts have recognized, in light of the unsettled state of Texas’s abuse of the

writ provision, it is far from “entirely clear” that the state court would decline to reach the merits

of Mr. Cole’s claims for relief. See Wardrip, 2014 U.S. Dist. LEXIS 55471, at *5 (endorsing

magistrate judge’s finding that it was “not entirely clear” that the Texas Court of Criminal Appeals

“would apply an independent and adequate procedural bar to [Petitioner’s ineffectiveness-of-

counsel] claim in a subsequent state habeas proceeding. . . .”).

        C.      Mr. Cole Has Not Engaged in Intentionally Dilatory Tactics.




  6
      Accord Sloan v. Delo, 54 F.3d 1371, 1381 (8th Cir. 1995) (“If a federal court is unsure
whether a claim would be rejected by the state courts, the habeas proceedings should be
dismissed without prejudice or stayed while the claim is fairly presented to them.”); Woods v.
Kemna, 13 F.3d 1244, 1245 (8th Cir. 1994) (dismissing possibly defaulted claim on non-
exhaustion grounds so state court can “definitively answer the question” of whether state remedy
still available).

                                                   11
    Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 12 of 17



          Mr. Cole’s failure to exhaust his claims in state court was not for the purpose of delay.

Rather, as discussed above, the failure to exhaust these claims was the result of state habeas

counsel’s ineffective investigation and review of the record on Mr. Cole’s behalf.

          Moreover, Mr. Cole’s request to return to state court is not brought for the purpose of delay.

Mr. Cole files this motion immediately following the filing of his Amended Petition for Writ of

Habeas Corpus. It is only now that undersigned counsel has completed their investigation. See,

e.g., Affidavit of Dr. Gilbert Martinez (dated Jan. 24, 2019). Mr. Cole could not have pled the

facts and claims state post-conviction counsel could have developed in the course of a thorough

investigation without having completed such an investigation themselves.                 Similarly, the

determination whether the unexhausted claims are meritorious would be premature before Mr.

Cole was able to thoroughly investigate, develop and present these factual bases to this Court.

          Any remaining concerns the Court may have about delay can be accounted for by

“plac[ing] reasonable time limits on a petitioner’s trip to state court and back.” Rhines, 544 U.S.

at 278.

          D.     Principles of Federalism Favor Allowing the State Court the Opportunity to
                 Consider Petitioner’s Unexhausted Claims.

          Principles of comity and federalism animate the doctrine of exhaustion and the Rhines stay

rule. See Rhines, 544 U.S. at 273-74; Duncan v. Walker, 533 U.S. 167, 178-79 (2001). These

principles compel a stay here, because “it would be unseemly in our dual system of government

for a federal district court to upset a state court conviction without an opportunity to the state courts

to correct a constitutional violation.” Rhines, 544 U.S. at 274 (citation and internal quotation

marks omitted).

          The Solicitor General of Texas, representing the State, has argued that, as a consequence

of the holding in Trevino, “state courts should have the opportunity to adjudicate defaulted claims

                                                   12
    Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 13 of 17



on the merits.” Br. for Resp., Trevino v. Thaler, 133 S. Ct. 1911 (2013), 2013 WL 179940, at *58.

The State recognized that “equity demands at a minimum that the CCA have an opportunity to

reevaluate its procedural ruling and adjudicate the claim on the merits.” Id. at *59. The reasons

were twofold. First, “Texas courts . . . have a proven track record of hearing once-defaulted claims

on the merits under appropriate circumstances.” Id. (citing Medina, 361 S.W.3d at 642–43; Ex

parte McPherson, 32 S.W.3d 860, 861 (Tex. Crim. App. 2000); Ex parte Evans, 964 S.W.2d 643,

647 (Tex. Crim. App. 1998); Ex parte Matamoros, No. WR-50791-02, 2011 WL 6241295 (Tex.

Crim. App. Dec. 14, 2011) (per curiam); and Ex parte Moreno, 245 S.W.3d 419, 420 (Tex. Crim.

App. 2008)). Second, returning these defaulted claims to state court mollifies the “strong medicine

of granting habeas review on long-defaulted claims.” Id. (citing Harris v. Reed, 489 U.S. 255, 282

(1989) (Kennedy, J., dissenting)).

       The same holds true of Mr. Cole’s unexhausted claims. Denying Mr. Cole the opportunity

to return to state court affects not just Mr. Cole’s opportunity to litigate his claims, it undermines

the State’s important interest in giving Mr. Cole a forum for the first full and fair adjudication of

his claims. Just as in Trevino, the state courts have not had the opportunity to adjudicate Mr.

Cole’s claims as a result of state habeas counsel’s conduct. The state courts deserve the first

opportunity to do so.

       An additional feature of the Texas state-federal scheme compels a stay here: by operation

of state law, a petitioner is barred from even attempting to exhaust his claims in state court during

the pendency of his federal proceedings. Mr. Cole needs a stay in order to present claims in state

court; he cannot pursue state remedies while simultaneously litigating his federal habeas

proceedings.   Under Texas’s “two forum” rule, the CCA will not consider a state habeas

application when a petitioner has a related case active in federal court. Ex parte Soffar, 143 S.W.3d


                                                 13
    Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 14 of 17



804 (Tex. Crim. App. 2004) (modifying “two forum” rule to allow consideration of state

application if federal court has stayed its proceeding); see, e.g., Ex parte Hernandez, No. WR-

63282-02, 2009 WL 4198849, at *2 (Tex. Crim. App. Nov. 25, 2009) (“Review of this conviction

and sentence is currently pending in federal court. Because the case is active in federal court, we

decline to address the issues.”) (citing Soffar, 143 S.W.3d at 804)).

       Here, comity and federalism militate strongly in favor of allowing the state courts to

address Mr. Cole’s claims in the first instance. Finally, consistent with 18 U.S.C. § 3599 and

Harbison, Mr. Cole requests that this Court authorize federal habeas counsel to exhaust these state

remedies on Mr. Cole’s behalf. See Harbison, supra. Representation by habeas counsel during

Mr. Cole’s pursuit of relief in state courts will ensure that he is represented by counsel familiar

with his case and will serve the interests of judicial economy by avoiding unnecessary delay.

       For these reasons, the court should grant Mr. Cole his first opportunity to litigate his

unexhausted habeas claims in state court.




                                                 14
    Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 15 of 17



                                         CONCLUSION

       WHEREFORE, Mr. Cole respectfully requests this Court enter an order staying his federal

habeas corpus proceeding and holding it in abeyance to file an application for writ of habeas corpus

in state court, represented by undersigned appointed counsel. To the extent this Court considers it

helpful in making its determination, Mr. Cole further requests argument on this motion.

                                              Respectfully submitted,


                                              /s/ Shawn Nolan
                                              Shawn Nolan
                                              Federal Community Defender for the
                                              Eastern District of Pennsylvania
                                              Suite 545 West, The Curtis Center
                                              601 Walnut Street
                                              Philadelphia, PA 19106
                                              (215) 928-0520
                                              Shawn_Nolan@fd.org


Dated: February 11, 2019




                                                15
    Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 16 of 17



                              AVERMENT OF CONFERENCE

       I hereby aver that I have conferred with counsel for Respondent, Assistant Attorney

General Ali M. Nassar, who has indicated that his office opposes this motion.



                                                           /s/ Shawn Nolan
                                                           Shawn Nolan



Dated: February 11, 2019
     Case 4:17-cv-00940 Document 35 Filed on 02/11/19 in TXSD Page 17 of 17



                                  CERTIFICATE OF SERVICE

          I hereby certify that on this date, I served the foregoing on the following person by ECF

filing:

                                           Ali M. Nassar
                                    Assistant Attorney General
                              Office of the Attorney General of Texas
                              Post Office Box 12548, Capitol Station
                                     Austin, Texas 78711-2548



                                                      /s/ Shawn Nolan
                                                      Shawn Nolan

Dated: February 11, 2019
